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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                           )     CASE NO. 13-62188-JWC
                                                 )
QUANG DUY NGUYEN,                                )     CHAPTER 7
                                                 )
         Debtor.                                 )
                                                 )
                                                 )
Neil C. Gordon, Chapter 7 Trustee                )
For the Estate of Quang Duy Nguyen,              )
                                                 )
         Movant.                                 )
                                                 )
v.                                               )
                                                 )
EVALINE NGUYEN,                                  )
                                                 )
         Respondent.                             )
                                                 )


         MOTION TO HOLD EVALINE NGUYEN IN CONTEMPT OF COURT

         Neil C. Gordon, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the

“Estate”) of Quang Duy Nguyen (the “Debtor”) files this Motion to Hold Evaline Nguyen

in Contempt of Court, pursuant to Rules 9014 and 9020, Fed. R. Bankr. P., and in support

thereof shows this Court as follows:

                                       Background

       1.      Debtor filed the above-styled bankruptcy case by filing a voluntary

petition under Chapter 7 of Title 11 of the United States Code on June 3, 2013 (the

“Petition Date”), initiating Case No. 13-62188-JWC (the “Case”).




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       2.     On the Petition Date, Trustee was appointed to the Case as interim

Chapter 7 trustee, pursuant to 11 U.S. C. § 701(a)(1).

       3.     Trustee concluded the meeting of creditors on July 1, 2013, pursuant to 11

U.S.C. § 341(a), after which time, he became the permanent Chapter 7 Trustee, pursuant

to 11 U.S.C. § 702(d).

       4.     Trustee filed his Application to Appoint Attorney for Trustee [Doc. No. 9] on

July 2, 2013, and the Court entered an Order [Doc. No. 10] on July 3, 2013, authorizing

the appointment of Arnall Golden Gregory LLP as attorneys for Trustee.

                                      a. The Property

       5.     Pursuant to his Schedule A – Real Property, Debtor scheduled his undivided

one-half ownership interest in that certain real property known generally as 2202 Lake

Haven Way, Suwanee, Gwinnett County, Georgia 30024 (the “Property”), which he

jointly owns with his non-filing spouse, Evaline Nguyen (“Ms. Nguyen”).

       6.     Pursuant to his Schedule D – Creditors Holding Secured Claims, Debtor

scheduled one claim against the Property: a “mortgage” in favor of Bank of America

(“BANA”) in the amount of $162,494.00 as of the Petition Date.

       7.     The Property is also encumbered by a federal tax lien against Debtor and

Ms. Nguyen in the amount of $34,900.00 (the “Tax Lien”).

                                      b. The Lawsuit

       8.     Trustee obtained a full title examination of the Property effective July 10,

2013 (the “Title Report”), which confirmed the Security Deed of BANA (the “BANA

Deed”).


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       9.     Based on his title investigation, Trustee determined that the BANA Deed

is unenforceable against the Estate’s one-half interest in the Property (the “Estate’s

Property Interest”) because the Debtor is not a party to the BANA Deed. The BANA

Deed was signed only by Ms. Nguyen, leaving the Estate’s Property Interest

unencumbered as to the BANA Deed.

       10.    Accordingly, on October 15, 2015, Trustee filed a Complaint [Doc. No. 20]

against BANA, initiating adversary proceeding Case No. 15-05402-JWC (the

“Lawsuit”). Trustee and BANA have now reached an agreement that BANA has no

security interest in the Estate’s Property Interest.

                   c. The Agreement Between Trustee and Ms. Nguyen

       11.    Based on the Tax Lien and the pending Lawsuit, Debtor and Ms. Nguyen

understood the Property must be sold.

       12.    Accordingly, pursuant to a Settlement Agreement, dated April 27, 2018,

between Trustee and Ms. Nguyen (the “Agreement”), Ms. Nguyen waived the

requirements that a lawsuit be filed, pursuant to 11 U.S.C. § 363(h), and consented to

Trustee’s sale of the Property by motion under 11 U.S.C. §§ 363(b) and (f).

       13.    At the time the Agreement was executed, Trustee met with Ms. Nguyen,

Debtor and Debtor’s attorney. The Debtor is an experienced real estate agent and

expressed his belief that an appropriate starting list price for the Property would be

$270,000.00. Based on Debtor’s experience as a realtor and his intimate knowledge of

the Property, Trustee agreed to start the listing price at $270,000.00. Ms. Nguyen was in

agreement with the listing price at that time.


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       14.    The Agreement provided that “the ‘Net Sale Proceeds’ shall mean all

gross proceeds of sale, less (i) any outstanding ad valorem real property taxes, (ii) the

pro-rated share of 2018 ad valorem real property taxes, (iii) any water and sewer liens,

(iv) real estate commissions, (v) all routine closing costs, and (vi) all costs necessary to

close a sale of the Property.”

       15.    The Agreement further provided that “the Net Sale Proceeds shall be held

in escrow or in Trustee’s bonded fiduciary account subject to further order of the

Bankruptcy Court approving and authorizing the distribution thereof.”

       16.    On May 15, 2018, Trustee filed a Motion for Approval of Agreement Between

Trustee and Evaline Nguyen [Doc. No. 30].

       17.    On June 15, 2018, the Court entered an Order [Doc. No. 35], approving the

Agreement (the “Agreement Order”).

                           d. Employment of Realtor Approved

       18.    Accordingly, on May 15, 2018, Trustee filed an Application to Employ Real

Estate Agent Under Listing Agreement [Doc. No. 32].

       19.    On May 16, 2018, the Court entered an Order [Doc. No. 33], approving the

employment of Coldwell Banker Residential Brokerage and Robin Blass/Lauren Blass

(collectively, the “Realtor”) as his listing agent for the Property, at a starting listing

price of $270,000.00 and a six (6%) percent commission of the selling price (the “Realtor

Order”).




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                          REQUEST FOR ORDER
             HOLDING EVALINE NGUYEN IN CONTEMPT OF COURT

       20.       Ms. Nguyen is in contempt of the Agreement Order.

       21.       It has been two (2) months since the Realtor Order was entered. To date,

Ms. Nguyen has failed and refused to allow the Property to be marketed for sale.

Indeed, Ms. Nguyen has removed the Realtor’s lockbox from the door and refuses to

allow the Realtor to place her for-sale sign in the front yard. Moreover, every effort to

show the Property has failed, as Ms. Nguyen has refused to allow the potential buyers

to see the Property.

       22.       Further, Ms. Nguyen now states that she disagrees with the $270,000.00

listing price.

       23.       In the Agreement, Ms. Nguyen agrees to have her interest in the Property

sold by Trustee and consents to any such sale.

       24.       Also, in the Agreement, Ms. Nguyen specifically agreed that the Trustee

“will have the discretion to change the listing price at any time and to accept a sale

contract for such price as he determines to be appropriate based solely on his judgment

and discretion.” (Ms. Nguyen retains the right to assert an objection to any proposed

sale based upon insufficient sale price or other reasons).

       25.       Ms. Nguyen’s actions have shown blatant disregard for this Court and the

Trustee. Ms. Nguyen has made no effort whatsoever to do as she agreed and as

ordered by this Court in the Agreement Order.




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       26.    The Trustee seeks to have the Court set a hearing for Ms. Nguyen to show

cause why she should not be held in civil contempt of the Agreement Order and, if

necessary, incarcerated until she complies with same or otherwise purges such

contempt.

        WHEREFORE, the Trustee respectfully requests that this Court issue an order:

        a.    Directing Ms. Nguyen to show cause why she should not be held in civil

contempt of Court for violating the Agreement Order and incarcerated until she

complies with same or otherwise purges such contempt; and

        b.    Directing Ms. Nguyen to pay reasonable attorneys’ fees and expenses

incurred in obtaining this Order; and

        c.    Granting such other and further relief as the Court may deem just and

proper.

                                        Respectfully submitted,

                                        ARNALL GOLDEN GREGORY, LLP
                                        Attorneys for Trustee

                                        By: /s/ Neil C. Gordon
                                            Neil C. Gordon
                                            State Bar No. 302387
                                        171 17th Street, N.W.
                                        Suite 2100
                                        Atlanta, GA 30363-1031
                                        Phone: (404) 873-8500; Fax: (404)873-8501
                                        Email: neil.gordon@agg.com




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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                         )      CASE NO. 13-62188-JWC
                                               )
QUANG DUY NGUYEN,                              )      CHAPTER 7
                                               )
         Debtor.                               )
                                               )
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Neil C. Gordon, Chapter 7 Trustee              )
For the Estate of Quang Duy Nguyen,            )
                                               )
         Movant.                               )
                                               )
v.                                             )
                                               )
EVALINE NGUYEN,                                )
                                               )
         Respondent.                           )
                                               )

                   NOTICE OF HEARING ON MOTION TO HOLD
                   EVALINE NGUYEN IN CONTEMPT OF COURT

       PLEASE TAKE NOTICE that Neil C. Gordon, Chapter 7 Trustee (the “Trustee”)
for the bankruptcy estate of Quang Duy Nguyen (the “Debtor”), filed his Motion to Hold
Evaline Nguyen in Contempt of Court (the “Motion”). The Trustee seeks to have the
Court issue an order directing Evaline Nguyen to show cause why she should not be
held in contempt for failing to comply with the Order [Doc. No. 35], granting the Motion
for Approval of Agreement Between Trustee and Evaline Nguyen [Doc. No. 30] and
approving the Agreement.

     PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
Motion in Courtroom 1203, U.S. Courthouse, 75 Ted Turner Drive, S.W., Atlanta,
Georgia at 11:00 a.m. on August 2, 2018.

      Your rights may be affected by the Court’s ruling on the Motion. You should
read the Motion carefully and discuss it with your attorney, if you have one in this
bankruptcy case. (If you do not have an attorney, you may wish to consult one.). If you
do not want the Court to grant the relief sought in the Motion or if you want the Court
to consider your views, then you and/or your attorney must attend the hearing. You


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may also file a written response to the Motion with the Clerk at the address stated
below, by you are not required to do so. If you file a written response, you must attach a
certificate stating when, how and on whom (including addresses) you served the
response. Mail or deliver your response so that it is received by the Clerk at least two (2)
business days before the hearing. The address of the Clerk’s Office is: 1340 Russell
Federal Building, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. You must also mail
a copy of your response to the counsel for the Trustee, Neil C. Gordon, Arnall Golden
Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta, GA 30363-1031.

Dated: July 16, 2018                      By: /s/ Neil C. Gordon
                                              Neil C. Gordon
                                              State Bar No. 302387
                                          171 17th Street, N.W.
                                          Suite 2100
                                          Atlanta, GA 30363-1031
                                          Phone: (404) 873-8500; Fax: (404)873-8501
                                          Email: neil.gordon@agg.com
                                          Attorneys for Chapter 7 Trustee




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                                CERTIFICATE OF SERVICE

       I, Neil C. Gordon, do hereby certify that I have this day served all interested
parties with a true and correct copy of the foregoing Motion to Hold Evaline Nguyen in
Contempt of Court and Notice of Hearing on Motion to Hold Evaline Nguyen in Contempt of
Court by depositing same in the United States Mail, postage prepaid, addressed to:

Office of the United States Trustee            Kerry Hand
362 Richard B. Russell Building                Nguyen Stephen, PC
75 Ted Turner Drive, S.W.                      Suite 202
Atlanta, GA 30303                              5430 Jimmy Carter Blvd.
                                               Norcross, GA 30093
Evaline Nguyen
2202 Lake Haven Way                            Quang Duy Nguyen
Suwanee, GA 30024                              2202 Lake Haven Way
                                               Suwanee, GA 30024

        This 16th day of July, 2018.
                                               /s/ Neil C. Gordon
                                               Neil C. Gordon
                                               State Bar No. 302387
171 17th Street, N.W., Suite 2100
Atlanta, GA 30363-1031
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